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                            IN TH E UN ITED STATES DISTR ICT CO URT
                           FO R T HE SO UTH ERN IJIS'I'RICT O F FR.O RIDA

                               CaseN o.1f)-CV-80737-H URI,EY/HO PK 1N S
       (Consolidatcd withCaseNo.10-CV-8h73
                                         .8-HIJRLEY/IIOPKINS ftàrtheReceivership)
     UNl'1'ED S'1'A'I'F,S SECIJRITIES AN17
     EX CHAN GE CO M M ISSION ,
     Plaintiff,



     TRADE-LLCSctal,,
     D efendants,



     BD LLC,eta1.,
     ReliefD efendants.


     COM M OD ITY FU'1'UltES 'I'
                               IG DINU
     COM M ISSION,
     Plaintiff,

            V.

     -1-It,
          *1.
            )b-
              .-IeI.
                   ,
                   ('
                    -,etal-,
     Defendants-

     BD I'zf-C,eta1.,
                    .

     ltclicfDelbndant-s.
                                                 /

                                 O1k1)ER GRAN'I'ING RECEIVER'S
                        FINAL M OTION FOR ATTORNEYS'FEXS A-   5 D C-OSTS
             TlIlS CAU SE i.
                           sbelbre the courtupon fhe lini m otion ofRcccivcrJcffrcy C.Schncidcr

     and Levine Kellogg Lehman Sohneider + Grossman LLP (the 'il-zaw r'irm'') 1br intelim
     colnpensafion to pay atlom eys' fees and costs incurred during the period ol-A ugust 1,2012
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     th1oaghM ay 3l,2013(l.
       '                  )li'
                             :# 1901.1'l'l)cSccuriticsandExchangeCommission(the$'SEC'')has
     reviewedthcinstantmotionm1dattacheklblllingrecords,andhasnoobjectiontotherequesl.
            This case involves an alleged Ponzisobeme that dtfraudcd investors outofovcr$28
     m illion, The court appointed M r.Schneider as R eceiver ttlinitiate litigation on bchat
                                                                                           ' f oftilt

     Rcceivership Entities to presel-ve and mainlain thcir assets fur the bendit tAl-invcstors and

     crcditors. Afterappointm ent,the Receiverretained tlle I-aw Firm to provide legalservicest()the

     Rcceivership li
                   lssate. During theappllcablc billlng period,the Receiver and hisprofessionals,

     among othcz thillgs,isnued finaldistribution chccks lo claimants with Ssallowed claims''aad

     claimants whû cured any claim ddkicncics. In addition to issuing distribution chccks,thc

     Reueivertmd his prolbssionalsaddresscd accotmting issucsto custlrc thattlw Gnaldistribution
     com plies with lRS rcquircm cnts. This Iequired the Receivez to tim ely issue a Form 1099-R to

     investors who invested through an 1RA or other qualiGed retirem ent aceounts. Pinally,the

     Rcceiverand hisprofessionalssetlled,on an amended basis,the remaining receivership lawsllit,

     analyzcd latcclnims,and finaliztd and filcdthcmotion forfinaldistribntion.



     ' On O ctuber 13. 201Q,the courtgranted the Receiver's and the Law Firm 's lirstm otion 1br
     intcrim cotnpensation offees and costs forthc pcriod ofJunc 23,20I0 to August31,2010. See
     DE # 50. On January 4,20ll,the uuurtgranted theirsecond m otion lbrinterim oom pensation of
     lbes lm d costsferthe period ofScptcmbcrl,2010 to Novcm bcr30,2010. See 1)E # 80. On
     M ay 3 l,201l,the cuurtp'anted theirthhd m otion forinterim compensation ()ffbesand costsfor
     thc pcriud u1-Deeem bcr1,2010 through l' kbruary 2#,2011, SeeDE # 114? On Septemberl6,
     20ll, the coul't gm nled the Receiver's and the Law Firm 's fourth m otion fo'        r inlerim
     com pensation offtvsim d oosts1brthc period ofM arch 1.2011through M ay 31,2011. See DB #
      135. On November7,20J1,thecot)rtgrantcd the Receiver's and the laaw Firm 's fifth motion
     for interim oompensation of fees attd costs lbr the period of Jane 1s201l through A tlgust 31,
     2011, See 17E # 149, On A pril2,2012,tlw courtgrantcd thc Rtceiver's k     '
                                                                                m d thc 1,aw Firm 's
     sixth motion fbr intezim com pensation of fees and costs for the period 017September 1,20ll
     through November30,2011. See DE # 166.On Scptem bcr 12.2012,the conrtgranted tlw
     Rcccivcr'sand the Law Firm 'sseventh m otion forinterim compensation offees and costsforthe
     period ofDecem ber 1.20l1 through July 31,2012.Sce DB # l80.
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           Asinterim compensation fortheirefforts,the Rectiver requests $13,468.90 in fccsand

    thcLaw Firm requests$100,587,50 in feesand$3,297.62 incostg.A receiverwho t<reasonably
    antldiligcntly dischlzrg/s his duties''is entitld to compensation. S'
                                                                        ee SSC y,Elliot,953 F.2d

     1560,1577 (11fbCir.1992). itw hetlwrarcccivcrtncritsafcc is based on the circumstances
     sunounding thu receivership,and results am always rtltvantk' ld (citati
                                                                           ensand quotations
     omitted).2
            The courthascarefully reviewed the Receiver'sand Law Firm 'seffortsin thiscaseand is

     wcll-satisfied with the quality and dsligence of their work as well as the results they have

     achicvcdthusfar.Accordingly,itishertbyORDERED and ADJUDGED that:

        1. 'l'hcmotionofRcceiverJtffrcyC.Sclmeiderand LevincKellogg Lehman Schneider+
     GrossmatlLLP for intcrim compcnsation to pay attorncys'fecs and costs incttrred during the

     pmiodofAugust1,20l2tlkroughMay31,2013(DE# 1901isGRANTED.
            n eRectiverisauthorizedand directedtopay,from themssetsoftlw Reccivership

     estate,atotalof$117,353.l2 (onehundredseventeenthousandthreehtlndred fiftythreedollars
     andtwelvecents)topayforthefeesandcostsidentitiedintheinstantmolion.
        3. 'l'hc Receiverisauthorizcd to m ainlain ancw reserve as txplincd in the m otion to cover

     futurt expenscs post-rtceivership. Tht Receiver is also authorizcd to pay t
                                                                               m y and allR ture

     receivership jbts imd expenses in a self-executing mrlnnzrwithoutfbrtherOrder upon writtcn



     2 Othcrrclcv=tfhctors,which thc courthas considered,includc; (1)the time and labor
     required;(2)thenoveltyanddim cultyofthelegalquestions;(3)theskillrequiredtoperform the
     legalservicespropcrly;(4)theprvclusionu1'otheremploymcntbythcattorncyductoacccptance
     oftiw case;(5)thecqstomaryfeeforsimilarworkinthvcommunity;(6)whetherthefeeisflxed
     orcontingent;(7)time limitationsimposed bytht glitnt()rtheciwumstmwts;(8)the amottnt
     invulvcdandtheresuttsobtaincd;(9)thccxpcricnce,reputation,andabilityoftheattorney;(10)
     tbeunder-desirabilityofthecase;(11)thenatureandlengthoftheprofessionalrelationshipwith
     theolient;and(12)awarttsinsimilercases.SeeJohnsonv.Georgiu/#/J@u'm'Express,Inc.,488
     1-
      i
      ',2d714(5thCir.l974).
                            '
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                                                              ,'
                                                               . .....'' . . .

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     consentby the SEC to the Receiver. In addition,the Receiver is autborized to transfer any
     remaining receivership fundsto theNationalFuturesAssociation asM onitoê attheappropriate

     timc bascd on the Receiver'sdiscretion,pursuatztte the prior ConscntJudgmcnisigncd in tllc

     CFTC procccding (DE # 1241.
           DONE andSIGNED inChambersatWestPalm Beach,Plorida,this zn2ayof
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      Augu st        20I3                             ''             ,
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                                                                                     ?
                                                                       ** ( .    -   -
                                                                                                    '''
                                                        DANIEL T.  K .IIURLEY
                                                        L'N ITED S'IATES DISTRICT JUDUE


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      opiesprovidedtocounsel4frecord




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